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                                                                                   2022 Apr-26 PM 01:11
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                 UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

FELITA ELLIOTT WILSON,  )
                        )
     Plaintiff,         )
                        )
v.                      )
                        ) Case No.: 2:21-cv-1703-AMM
AT&T MOBILITY SERVICES, )
LLC,                    )
                        )
     Defendant.         )
                        )

                                  ORDER

      In accordance with the parties’ joint stipulation, Doc. 14, this action is

referred to binding contractual individual arbitration and this action is

STAYED until such arbitration is completed or the case is dismissed.

      DONE and ORDERED this 26th day of April, 2022.



                                    _________________________________
                                    ANNA M. MANASCO
                                    UNITED STATES DISTRICT JUDGE
